              Case 18-06051-LT11                           Filed 10/23/18                    Entered 10/23/18 11:33:14                                 Doc 13-1        Pg. 1 of
                                                                                               61
 Fill in this information to identify your case:

 Debtor 1                   Christopher D. Dougherty
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Nereida I. Dougherty
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          2,100,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             316,343.73

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          2,416,343.73

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,802,695.80

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              54,300.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,397,893.54


                                                                                                                                     Your total liabilities $             3,254,889.34


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              20,096.63

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              19,713.47

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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                                                                              61
 Debtor 1      Christopher D. Dougherty
 Debtor 2      Nereida I. Dougherty                                                       Case number (if known) 18-06051

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            54,300.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            46,866.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $            101,166.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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                                                                                                 61
 Fill in this information to identify your case and this filing:

 Debtor 1                    Christopher D. Dougherty
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Nereida I. Dougherty
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF CALIFORNIA

 Case number            18-06051                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1875 Erie St.                                                                  Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        San Diego                         CA        92110-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                            $1,250,000.00               $1,250,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              JT Tenancy
        San Diego                                                                      Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Owe $971,282.81




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1         Christopher D. Dougherty
 Debtor 2         Nereida I. Dougherty                                                                                          Case number (if known)          18-06051

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        21702 Japatul Rd.                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Alpine                            CA        91901-0000                        Land                                            entire property?              portion you own?
        City                              State              ZIP Code                 Investment property                                    $850,000.00                   $850,000.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other      Land w/Home                          (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only
        San Diego                                                                     Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             6 Acres -
                                                                             Owe $637,898.26


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $2,100,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Chevrolet                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Silverado                                          Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2016                                               Debtor 2 only
                                                                                                                                       Current value of the         Current value of the
          Approximate mileage:                          5000               Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another
         Owe $19,000.00 at Residence
         Excellent                                                         Check if this is community property                                 $49,000.00                    $49,000.00
                                                                           (see instructions)



  3.2     Make:         Jeep                                            Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Wrangler                                           Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2014                                               Debtor 2 only
                                                                                                                                       Current value of the         Current value of the
          Approximate mileage:                       80,000                Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another
         Owe $9,000.00 at Residence
         Son's Vehicle                                                     Check if this is community property                                 $18,170.00                    $18,170.00
         Fair                                                              (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 2
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 Debtor 1        Christopher D. Dougherty
 Debtor 2        Nereida I. Dougherty                                                                           Case number (if known)    18-06051

  3.3    Make:       Yamaha                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      450                                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2002                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         At Residence
                                                                     Check if this is community property                        $1,000.00                   $1,000.00
                                                                     (see instructions)



  3.4    Make:       Mercedes                                  Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      S55                                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2002                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                  68,000                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         At Residence
         Fair                                                        Check if this is community property                        $3,724.00                   $3,724.00
                                                                     (see instructions)



  3.5    Make:       Dodge                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Ram 3500                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2005                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                190,000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         At Residence
         Fair                                                        Check if this is community property                        $2,990.00                   $2,990.00
                                                                     (see instructions)



  3.6    Make:       Chevy                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Express Van                                     Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2016                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                    1000                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Owes $41,000.00 at Ranch
         Excellent                                                   Check if this is community property                      $26,227.00                  $26,227.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       26 Ft. Mastercraft                        Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      X45                                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                     $15,000.00                   $15,000.00
         At Ranch                                                    (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 3
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 Debtor 2        Nereida I. Dougherty                                                                               Case number (if known)       18-06051

  4.2    Make:       Seadoo                                    Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                              $2,000.00                    $2,000.00
         At Residence                                                (see instructions)


  4.3    Make:       Seadoo                                    Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                              $2,000.00                    $2,000.00
         At Residence                                                (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>               $120,111.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Misc. at Residence(s)
                                    Combined Erie & Northcrest                                                                                                      $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Misc. at Residence
                                    Combined Erie & Northcrest                                                                                                      $5,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 4
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 Debtor 1          Christopher D. Dougherty
 Debtor 2          Nereida I. Dougherty                                                                                       Case number (if known)   18-06051


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Misc. at Residence                                                                                                         $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Misc. at Residence                                                                                                         $5,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            2 Dogs at Residence                                                                                                          $100.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $16,100.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               Bank of America                                                      $1,263.22



                                              17.2.                                               Navy Federal Credit Union                                            $1,198.10


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:



Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 5
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 Debtor 2         Nereida I. Dougherty                                                                     Case number (if known)   18-06051

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                          % of ownership:

                                            C&D Professional Services, Inc.                                     100%          %                           $0.00


                                            RD3, Inc.                                                           100%          %                           $0.00


                                            JTA Real Estate Holdings, LLC -
                                            Owns Real Properties
                                            1. 13822 Northcrest Lane, Poway, CA 92064 -
                                            SFR
                                            2. 4892 Japatul Spur Alpine, CA 91901 - 120
                                            Arces
                                            3. SFR-1581 Yucca Dr., El Centro, CA 92243 (via
                                            purchase contract)
                                            4. Trucking Business Equipment for RD3, Inc.                        100%          %                           $0.00


                                            JTA Farm Enterprises, LLC                                           100%          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                         Institution name:

                                         403(b)                          Fidelity                                                               $115,559.34


                                         457(b)                          Fringe Benefits Consortium                                               $11,175.87


                                                                         CALSTRS                                                                  $27,841.20


                                         401(k)                          401k Direct                                                              $17,195.00


                                         Roth IRA                        401k Direct                                                                $5,900.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                       Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

Official Form 106A/B                                                 Schedule A/B: Property                                                               page 6
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 Debtor 2        Nereida I. Dougherty                                                                    Case number (if known)      18-06051

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                              Dougherty Family Trust                                                                                       $0.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........



Official Form 106A/B                                                 Schedule A/B: Property                                                                page 7
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 Debtor 2         Nereida I. Dougherty                                                                                                  Case number (if known)      18-06051


                                                             Debtor v. McDonald
                                                             SDSC No. 37-2017-00028318-CU-BC-CTL
                                                             Breach of Contract                                                                                                            $0.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                   $180,132.73


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                             $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                  $2,100,000.00
 56. Part 2: Total vehicles, line 5                                                                         $120,111.00
 57. Part 3: Total personal and household items, line 15                                                     $16,100.00
 58. Part 4: Total financial assets, line 36                                                                $180,132.73
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $316,343.73               Copy personal property total                $316,343.73

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $2,416,343.73




Official Form 106A/B                                                               Schedule A/B: Property                                                                                  page 8
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               Case 18-06051-LT11                       Filed 10/23/18                Entered 10/23/18 11:33:14                  Doc 13-1          Pg. 11
                                                                                       of 61
 Fill in this information to identify your case:

 Debtor 1                 Christopher D. Dougherty
                          First Name                        Middle Name                   Last Name

 Debtor 2                 Nereida I. Dougherty
 (Spouse if, filing)      First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)                                                                                                                                 Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      1875 Erie St. San Diego, CA 92110                              $1,250,000.00                              $100,000.00      C.C.P. § 704.730
      San Diego County
      Owe $971,282.81                                                                        100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                            any applicable statutory limit

      2002 Mercedes S55 68,000 miles                                    $3,724.00                                  $3,050.00     C.C.P. § 704.010
      At Residence
      Fair                                                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.4                                                            any applicable statutory limit

      2005 Dodge Ram 3500 190,000 miles                                 $2,990.00                                  $2,990.00     C.C.P. § 704.060
      At Residence
      Fair                                                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.5                                                            any applicable statutory limit

      Misc. at Residence(s)                                             $5,000.00                                  $5,000.00     C.C.P. § 704.020
      Combined Erie & Northcrest
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      Misc. at Residence                                                $5,000.00                                  $5,000.00     C.C.P. § 704.020
      Combined Erie & Northcrest
      Line from Schedule A/B: 7.1                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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            Case 18-06051-LT11                          Filed 10/23/18                Entered 10/23/18 11:33:14                     Doc 13-1          Pg. 12
                                                                                       of 61
 Debtor 1    Christopher D. Dougherty
 Debtor 2    Nereida I. Dougherty                                                                          Case number (if known)     18-06051
     Brief description of the property and line on             Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

     Misc. at Residence                                                $1,000.00                                   $1,000.00        C.C.P. § 704.020
     Line from Schedule A/B: 11.1
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit

     Misc. at Residence                                                $5,000.00                                   $5,000.00        C.C.P. § 704.040
     Line from Schedule A/B: 12.1
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit

     2 Dogs at Residence                                                 $100.00                                     $100.00        C.C.P. § 704.020
     Line from Schedule A/B: 13.1
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit

     403(b): Fidelity                                                $115,559.34                                $115,559.34         C.C.P. § 704.115(a)(1) & (2),
     Line from Schedule A/B: 21.1                                                                                                   (b)
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit

     457(b): Fringe Benefits Consortium                               $11,175.87                                 $11,175.87         C.C.P. § 704.115(a)(1) & (2),
     Line from Schedule A/B: 21.2                                                                                                   (b)
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit

     CALSTRS                                                          $27,841.20                                 $27,841.20         C.C.P. § 704.110
     Line from Schedule A/B: 21.3
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit

     401(k): 401k Direct                                              $17,195.00                                 $17,195.00         C.C.P. § 704.115(a)(1) & (2),
     Line from Schedule A/B: 21.4                                                                                                   (b)
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit

     Roth IRA: 401k Direct                                             $5,900.00                                   $5,900.00        C.C.P. § 704.115(a)(1) & (2),
     Line from Schedule A/B: 21.5                                                                                                   (b)
                                                                                             100% of fair market value, up to
                                                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                           page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 18-06051-LT11                       Filed 10/23/18                Entered 10/23/18 11:33:14                      Doc 13-1            Pg. 13
                                                                                       of 61
 Fill in this information to identify your case:

 Debtor 1                   Christopher D. Dougherty
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Nereida I. Dougherty
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Financial                           Describe the property that secures the claim:                 $19,000.00               $49,000.00                     $0.00
         Creditor's Name                          2016 Chevrolet Silverado
                                                  5kmi - Excellent - At Residence
         Attn: Bankruptcy Dept.
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 380901                          apply.
         Minneapolis, MN 55438                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit

       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          04/17                     Last 4 digits of account number        4275

 2.2     Ally Financial                           Describe the property that secures the claim:                 $26,227.00                      $0.00         $26,227.00
         Creditor's Name                          2016 Chevy Express Van
                                                  1kmi - Excellent at Ranch
         Attn: Bankruptcy Dept.                   Owes $41,000.00
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 380901                          apply.
         Minneapolis, MN 55438                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit

       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        6806

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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             Case 18-06051-LT11                           Filed 10/23/18                 Entered 10/23/18 11:33:14                     Doc 13-1        Pg. 14
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 Debtor 1 Christopher D. Dougherty                                                                            Case number (if known)   18-06051
               First Name                  Middle Name                      Last Name
 Debtor 2 Nereida I. Dougherty
               First Name                  Middle Name                      Last Name




 2.3     Car Capital Financial, Inc.                Describe the property that secures the claim:                      $9,000.00         $18,170.00               $0.00
         Creditor's Name                            2014 Jeep Wrangler
                                                    Son's Vehicle
                                                    80kmi - Fair - At Residence
                                                    As of the date you file, the claim is: Check all that
         700 West Collins Avenue                    apply.
         Orange, CA 92867                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/13                       Last 4 digits of account number         1000

 2.4     Marlin Leasing Corp.                       Describe the property that secures the claim:                    $61,797.73          $80,000.00               $0.00
         Creditor's Name                            (2) 2017 Rollsrite Trailers
                                                    Guarator for JTA Farm Enterprises
                                                    LLC
                                                    As of the date you file, the claim is: Check all that
         300 Fellowship Rd.                         apply.
         Mount Laurel, NJ 08054                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit

       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2017                        Last 4 digits of account number         9001

         Real Time Resolutions,
 2.5                                                                                                                 $77,490.00        $1,250,000.00              $0.00
         Inc.                                       Describe the property that secures the claim:
         Creditor's Name                            1875 Erie St.
                                                    San Diego, CA 92110
                                                    SFR - 2nd TD
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 731940                            apply.
         Dallas, TX 75373-1940                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 18-06051-LT11                           Filed 10/23/18                 Entered 10/23/18 11:33:14                          Doc 13-1              Pg. 15
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 Debtor 1 Christopher D. Dougherty                                                                            Case number (if known)        18-06051
               First Name                  Middle Name                      Last Name
 Debtor 2 Nereida I. Dougherty
               First Name                  Middle Name                      Last Name


 Date debt was incurred          08/06                       Last 4 digits of account number         7070

 2.6     Title Security Agency                      Describe the property that secures the claim:                   $637,898.26                $850,000.00                   $0.00
         Creditor's Name                            6 Acres 21702 Japatul Rd.
                                                    Alpine, CA 91901
         6390 E. Tanque Verde
                                                    As of the date you file, the claim is: Check all that
         Rd.                                        apply.
         Tucson, AZ 85715                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          12/16                       Last 4 digits of account number         7230

         Wells Fargo Home
 2.7                                                                                                                $971,282.81             $1,250,000.00                    $0.00
         Mortgage                                   Describe the property that secures the claim:
         Creditor's Name                            1875 Erie St.
                                                    San Diego, CA 92110
         Attn: Bankruptcy Dept.                     SFR - 1st TD
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 10335                             apply.
         Des Moines, IA 50306                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          06/06                       Last 4 digits of account number         8498


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,802,695.80
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,802,695.80

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.7
          Quality Loan Services Corp.
          411 Ivy St.                                                                                 Last 4 digits of account number
          San Diego, CA 92101




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                     page 3 of 4
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            Case 18-06051-LT11                          Filed 10/23/18           Entered 10/23/18 11:33:14                   Doc 13-1              Pg. 16
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 Debtor 1 Christopher D. Dougherty                                                           Case number (if known)          18-06051
              First Name                Middle Name                  Last Name
 Debtor 2 Nereida I. Dougherty
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                                   On which line in Part 1 did you enter the creditor?   2.1
        Vanlochem & Associates LLP
        6565 Sunset Blvd, Ste. 142                                                     Last 4 digits of account number
        Los Angeles, CA 90028




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
               Case 18-06051-LT11                        Filed 10/23/18                  Entered 10/23/18 11:33:14                          Doc 13-1              Pg. 17
                                                                                          of 61
 Fill in this information to identify your case:

 Debtor 1                     Christopher D. Dougherty
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Nereida I. Dougherty
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          IRS                                                    Last 4 digits of account number                        $54,300.00                    $0.00          $54,300.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?           2017
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        1040 Income Taxes

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
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            Case 18-06051-LT11                          Filed 10/23/18                 Entered 10/23/18 11:33:14                        Doc 13-1        Pg. 18
                                                                                        of 61
 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.1      Alan & Alicia Silver                                       Last 4 digits of account number       3243                                              Unknown
          Nonpriority Creditor's Name
          c/o Daniel S. Levinson, ESQ.                               When was the debt incurred?           08/27/18
          990 Highland Dr. #206
          Solana Beach, CA 92075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Civil Complaint for Fraud


 4.2      Alternative Recovery Mgt.                                  Last 4 digits of account number       9056                                              $1,030.98
          Nonpriority Creditor's Name
          7373 University Ave., Ste. 201                             When was the debt incurred?           05/18
          La Mesa, CA 91942
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         East County Large Animal Practice
              Yes                                                       Other. Specify   Collection

 4.3      American Express                                           Last 4 digits of account number       1003                                            $16,891.30
          Nonpriority Creditor's Name
          P.O. Box 2092                                              When was the debt incurred?           2012
          Saint Charles, MO 63302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 9
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 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.4      Barrett Business Services, Inc                             Last 4 digits of account number       5244                                              Unknown
          Nonpriority Creditor's Name
          c/o Elvin I. Tabah, ESQ.                                   When was the debt incurred?           01/31/18
          11601 Wilshire Blvd. #800
          Los Angeles, CA 90025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Civil Complaint for Breach of Contract


 4.5      Brennan & Clark                                            Last 4 digits of account number       4828                                            $12,875.61
          Nonpriority Creditor's Name
          721 E. Madison St., Ste. 200                               When was the debt incurred?           08/18
          Villa Park, IL 60181
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Insurance Premiums


 4.6      Carol Pouliot                                              Last 4 digits of account number       9791                                              Unknown
          Nonpriority Creditor's Name
          c/o Daniel A. Kaplan, ESQ.                                 When was the debt incurred?           06/15/18
          555 West Beach St., Ste. 230
          San Diego, CA 92101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Civil Complaint for Fraud




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 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.7      CCG                                                        Last 4 digits of account number       7524                                              $5,667.57
          Nonpriority Creditor's Name
          317 S. Brand Blvd.                                         When was the debt incurred?           08/18
          Glendale, CA 91204-1701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Sure Tec Inc. Co.


 4.8      CCSC                                                       Last 4 digits of account number       0452                                              $3,224.05
          Nonpriority Creditor's Name
          725 Canton St.                                             When was the debt incurred?           08/18
          Norwood, MA 02062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collections
                                                                                         For Progressive Insurance
              Yes                                                       Other. Specify   United Financial CAS CO.

 4.9      Chase Card Services                                        Last 4 digits of account number       9868                                            $15,251.00
          Nonpriority Creditor's Name
          Correspondence Dept.                                       When was the debt incurred?           09/17 - 07/18
          P.O. Box 15298
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 9
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 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.1
 0        Commerical Credit Group, Inc.                              Last 4 digits of account number                                                     $1,097,261.00
          Nonpriority Creditor's Name
          2135 City Gate Lane, Ste. 440                              When was the debt incurred?           02/18
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantys on Promissory Notes
                                                                                         and Security Agreements for JTA Real
              Yes                                                       Other. Specify   Estate Holdings, LLC

 4.1
 1        Holly Horn                                                 Last 4 digits of account number                                                      $120,000.00
          Nonpriority Creditor's Name
          c/o Thomas M. Tomlinson, ESQ.                              When was the debt incurred?           2016
          231 Fourth Avenue
          Chula Vista, CA 91910
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Money Lent for Investment


 4.1
 2        IC Systems                                                 Last 4 digits of account number       6468                                                $941.36
          Nonpriority Creditor's Name
          P.O. Box 64378                                             When was the debt incurred?           08/18
          Saint Paul, MN 55164-0378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for ATT Wireless




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 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.1
 3        Koch, Degn & Gomez, LLP                                    Last 4 digits of account number       8140                                            $12,534.04
          Nonpriority Creditor's Name
          1148 N. Chinowith St., Ste. B                              When was the debt incurred?           07/18
          Visalia, CA 93291
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Bob Stall Chevrolet


 4.1
 4        Legis Law                                                  Last 4 digits of account number       9358                                            $35,000.00
          Nonpriority Creditor's Name
          2101 E. 4th St., Ste. A120                                 When was the debt incurred?           06/18
          Santa Ana, CA 92075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collectgions for Sunstate Equipment


 4.1
 5        MRS BPO L.L.C.                                             Last 4 digits of account number       0642                                              $2,037.29
          Nonpriority Creditor's Name
          1930 Olney Avenue                                          When was the debt incurred?           08/18
          Cherry Hill, NJ 08003
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Verizons Wireless




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 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.1
 6        Navient                                                    Last 4 digits of account number       0911                                            $18,551.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           09/01
          P.O. Box 9000
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans
 4.1
 7        Nelnet                                                     Last 4 digits of account number       4059                                            $21,083.00
          Nonpriority Creditor's Name
          Attn: Claims                                               When was the debt incurred?           12/03
          P.O. Box 82505
          Lincoln, NE 68501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans
 4.1
 8        Nelnet                                                     Last 4 digits of account number       3959                                              $7,232.00
          Nonpriority Creditor's Name
          Attn: Claims                                               When was the debt incurred?           12/03
          P.O. Box 82505
          Lincoln, NE 68501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans



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 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.1
 9        Pucin & Friedland, P.C.                                    Last 4 digits of account number       4135                                            $22,942.38
          Nonpriority Creditor's Name
          5805 Sepulveda Blvd. #4th Fl.                              When was the debt incurred?           07/18
          Sherman Oaks, CA 91411
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Hawthorne Machinery


 4.2
 0        Receivables Control Corp.                                  Last 4 digits of account number       7872                                              $2,053.96
          Nonpriority Creditor's Name
          7373 Kirkwood Ct., Ste. 200                                When was the debt incurred?           08/18
          Minneapolis, MN 55369
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collections for TAP Automobile Holdings
              Yes                                                       Other. Specify   LLC

 4.2
 1        SDCCU                                                      Last 4 digits of account number       0900                                              $3,317.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           03/18
          555 Mildred St.
          San Diego, CA 92110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Deposit Related




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 8 of 9
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 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)          18-06051

 4.2
 2         Tokiko Hunt                                               Last 4 digits of account number       6066                                               Unknown
           Nonpriority Creditor's Name
           c/o Paul A. Buckley , ESQ.                                When was the debt incurred?           02/02/18
           3655 Nobel Dr., Ste. 650
           San Diego, CA 92122
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only
                                                                         Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Civil Complaint for Breach of Contract

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                      54,300.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      54,300.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                      46,866.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                1,351,027.54

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                1,397,893.54




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 Fill in this information to identify your case:

 Debtor 1                  Christopher D. Dougherty
                           First Name                         Middle Name            Last Name

 Debtor 2                  Nereida I. Dougherty
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Ally Financial                                                             Automobile Purchase Contract
               Attn: Bankruptcy Dept.
               P.O. Box 380901
               Minneapolis, MN 55438

     2.2       Car Capital Financial, Inc.                                                Automobile Purchase Contract
               700 West Collins Avenue
               Orange, CA 92867

     2.3       Marlin Leasing Corp.                                                       Equipment Leases Guarantor
               300 Fellowship Rd.
               Mount Laurel, NJ 08054




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Christopher D. Dougherty
                            First Name                           Middle Name       Last Name

 Debtor 2                   Nereida I. Dougherty
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         C&D Professional Services, Inc                                                       Schedule D, line
                9201 Issac Street, Suite A                                                           Schedule E/F, line     4.11
                Santee, CA 92071
                                                                                                     Schedule G
                                                                                                   Holly Horn



    3.2         C&D Professional Services, Inc                                                       Schedule D, line
                9201 Issac Street, Suite A                                                           Schedule E/F, line     4.1
                Santee, CA 92071
                                                                                                     Schedule G
                                                                                                   Alan & Alicia Silver



    3.3         C&D Professional Services, Inc                                                       Schedule D, line
                9201 Issac Street, Suite A                                                           Schedule E/F, line   4.4
                Santee, CA 92071
                                                                                                     Schedule G
                                                                                                   Barrett Business Services, Inc




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 6
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              Christopher D. Dougherty
 Debtor 1 Nereida I. Dougherty                                                          Case number (if known)   18-06051


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.4      C&D Professional Services, Inc                                                    Schedule D, line
             9201 Issac Street, Suite A                                                        Schedule E/F, line      4.6
             Santee, CA 92071
                                                                                               Schedule G
                                                                                             Carol Pouliot



    3.5      C&D Professional Services, Inc                                                    Schedule D, line
             9201 Issac Street, Suite A                                                        Schedule E/F, line      4.22
             Santee, CA 92071
                                                                                               Schedule G
                                                                                             Tokiko Hunt



    3.6      C&D Professional Services, Inc                                                    Schedule D, line
             9201 Issac Street, Suite A                                                        Schedule E/F, line 4.10
             Santee, CA 92071
                                                                                               Schedule G
                                                                                             Commerical Credit Group, Inc.



    3.7      JTA Farm Enterprises LLC                                                          Schedule D, line   2.4
             2741 Alpine Blvd. #200                                                            Schedule E/F, line
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Marlin Leasing Corp.



    3.8      JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line   4.4
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Barrett Business Services, Inc



    3.9      JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.6
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Carol Pouliot



    3.10     JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Bvld. #200                                                            Schedule E/F, line      4.22
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Tokiko Hunt



    3.11     JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line 4.10
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Commerical Credit Group, Inc.




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              Christopher D. Dougherty
 Debtor 1 Nereida I. Dougherty                                                          Case number (if known)   18-06051


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.12     JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.11
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Holly Horn



    3.13     JTA Farm Enterprises LLC                                                           Schedule D, line   2.1
             2741 Alpine Blvd. #200                                                             Schedule E/F, line
             Alpine, CA 91901
                                                                                                Schedule G
                                                                                             Ally Financial



    3.14     JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.8
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             CCSC



    3.15     JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.5
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Brennan & Clark



    3.16     JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line  4.20
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Receivables Control Corp.



    3.17     JTA Farm Enterprises LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line    4.19
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Pucin & Friedland, P.C.



    3.18     JTA Farm Enterprises LLC                                                           Schedule D, line   2.2
             2741 Alpine Blvd. #200                                                             Schedule E/F, line
             Alpine, CA 91901
                                                                                                Schedule G
                                                                                             Ally Financial



    3.19     JTA Farms Enterprise LLC                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.1
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Alan & Alicia Silver




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              Christopher D. Dougherty
 Debtor 1 Nereida I. Dougherty                                                          Case number (if known)   18-06051


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.20     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd. Ste. 205                                                        Schedule E/F, line 4.10
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             Commerical Credit Group, Inc.



    3.21     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd., Ste. 205                                                       Schedule E/F, line      4.1
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             Alan & Alicia Silver



    3.22     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd, Ste. 205                                                        Schedule E/F, line   4.4
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             Barrett Business Services, Inc



    3.23     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd. Ste. 205                                                        Schedule E/F, line      4.6
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             Carol Pouliot



    3.24     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd. Ste. 205                                                        Schedule E/F, line      4.22
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             Tokiko Hunt



    3.25     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd, Ste. 205                                                        Schedule E/F, line      4.11
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             Holly Horn



    3.26     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd. Ste. 205                                                        Schedule E/F, line      4.15
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             MRS BPO L.L.C.



    3.27     JTA Real Estate Holdings LLC                                                      Schedule D, line
             2445 Morena Blvd. Ste. 205                                                        Schedule E/F, line      4.14
             San Diego, CA 92110
                                                                                               Schedule G
                                                                                             Legis Law




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 4 of 6
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              Christopher D. Dougherty
 Debtor 1 Nereida I. Dougherty                                                          Case number (if known)   18-06051


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.28     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.1
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Alan & Alicia Silver



    3.29     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line   4.4
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Barrett Business Services, Inc



    3.30     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.6
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Carol Pouliot



    3.31     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.22
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Tokiko Hunt



    3.32     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line 4.10
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Commerical Credit Group, Inc.



    3.33     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.11
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Holly Horn



    3.34     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.8
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             CCSC



    3.35     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.5
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Brennan & Clark




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 5 of 6
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              Christopher D. Dougherty
 Debtor 1 Nereida I. Dougherty                                                          Case number (if known)   18-06051


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.36     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line 4.13
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             Koch, Degn & Gomez, LLP



    3.37     RD3, Inc.                                                                          Schedule D, line
             2741 Alpine Blvd. #200                                                             Schedule E/F, line     4.12
             Alpine, CA 91901
                                                                                                Schedule G
                                                                                             IC Systems



    3.38     RD3, Inc.                                                                         Schedule D, line
             2741 Alpine Blvd. #200                                                            Schedule E/F, line      4.7
             Alpine, CA 91901
                                                                                               Schedule G
                                                                                             CCG




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 6 of 6
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Fill in this information to identify your case:

Debtor 1                      Christopher D. Dougherty

Debtor 2                      Nereida I. Dougherty
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA

Case number               18-06051                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Self - Business Owner                        Professor Counselor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                    San Diego Mesa College

       Occupation may include student        Employer's address
                                                                                                                7250 Mesa College Dr.
       or homemaker, if it applies.
                                                                                                                San Diego, CA 92111

                                             How long employed there?                                                    18 yrs

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         7,000.00        $         9,479.18

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      7,000.00               $   9,479.18




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    Christopher D. Dougherty
Debtor 2    Nereida I. Dougherty                                                                  Case number (if known)    18-06051


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $        7,000.00       $         9,479.18

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $          828.04
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $          971.62
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $        1,000.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $            0.00
      5e.    Insurance                                                                     5e.        $              0.00     $            0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $          142.19
      5g.    Union dues                                                                    5g.        $              0.00     $           10.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $            0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        2,951.85
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $            7,000.00       $        6,527.33
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        4,300.00       $               0.00
      8b. Interest and dividends                                                           8b.        $            0.00       $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
      8e. Social Security                                                                  8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:    V.A. Disability                                                   8f.  $                269.30   $                   0.00
      8g. Pension or retirement income                                                     8g. $                   0.00   $                   0.00
      8h. Other monthly income. Specify: Air B&B                                           8h.+ $              2,000.00 + $                   0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            6,569.30       $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              13,569.30 + $        6,527.33 = $          20,096.63
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $          20,096.63
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1                 Christopher D. Dougherty                                                          Check if this is:
                                                                                                               An amended filing
Debtor 2                 Nereida I. Dougherty                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number           18-06051
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            5,494.69

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           837.20
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           133.58
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           400.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Christopher D. Dougherty
Debtor 2     Nereida I. Dougherty                                                                      Case number (if known)      18-06051

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                250.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                350.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,800.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               700.00
10.   Personal care products and services                                                    10. $                                                300.00
11.   Medical and dental expenses                                                            11. $                                                100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                              1,000.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                100.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  200.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  448.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                         $                                             1,500.00
      Specify: Son College Tuition & Living Expenses                                         19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               5,700.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:                                                                        21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      19,713.47
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      19,713.47
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              20,096.63
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             19,713.47

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 383.16

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Christopher D. Dougherty
                             First Name                     Middle Name             Last Name

 Debtor 2                    Nereida I. Dougherty
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number              18-06051
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Christopher D. Dougherty                                              X   /s/ Nereida I. Dougherty
              Christopher D. Dougherty                                                  Nereida I. Dougherty
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       October 23, 2018                                               Date    October 23, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Christopher D. Dougherty
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Nereida I. Dougherty
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there
        14427 Sespe Pt.                                          From-To:                       Same as Debtor 1                                  Same as Debtor 1
        Poway, CA 92064                                          2014 - 03/16                                                                  From-To:



        13822 Northcrest Lane                                    From-To:                       Same as Debtor 1                                  Same as Debtor 1
        Poway, CA 92064                                          03/16 - 08/10/18                                                              From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor 2      Nereida I. Dougherty                                                                        Case number (if known)   18-06051

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 From January 1 of current year until                Wages, commissions,                        $11,342.55           Wages, commissions,                     $0.00
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                               $0.00          Wages, commissions,            $68,317.43
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For last calendar year:                             Wages, commissions,                       $-39,643.00           Wages, commissions,                     $0.00
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                               $0.00          Wages, commissions,            $98,464.33
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                       $-91,180.00           Wages, commissions,                     $0.00
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                               $0.00          Wages, commissions,           $127,200.00
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until VA Benefits (Monthly)                                         $269.30
 the date you filed for bankruptcy:   Last 2 Years


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                   paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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 Debtor 2      Nereida I. Dougherty                                                                        Case number (if known)   18-06051

                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Silver v. Dougherty, et al.                               Complaint for              San Diego Superior Court -                 Pending
       37-2018-00043243-CU-FR-NC                                 Fraud                      North County                               On appeal
                                                                                                                                       Concluded


       Hunt v. Dougherty, et al.                                 Complaint for              San Diego Superior Court -                 Pending
       37-2018-00006066-CU-BC-CTL                                Fraud                      Central                                    On appeal
                                                                                            330 W. Broadway                            Concluded
                                                                                            San Diego, CA 92101
                                                                                                                                    Default - Entered 05/08/2018

       Barrett Business Svcs v. RD3, Inc.                        Complaint for              San Diego Superior Court -                 Pending
       et al.                                                    Breach of                  Central                                    On appeal
       37-2018-00005244-CU-BC-CTL                                Contract                   330 W. Broadway                            Concluded
                                                                                            San Diego, CA 92101
                                                                                                                                    Default - Entered 08/29/2018



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 Debtor 2      Nereida I. Dougherty                                                                        Case number (if known)     18-06051

       Case title                                                Nature of the case         Court or agency                           Status of the case
       Case number
       Pouliot v. Dougherty                                      Complaint for              San Diego Superior Court -                   Pending
       37-2018-00029791-CU-FR-CTL                                Fraud                      Central                                      On appeal
                                                                                            330 W. Broadway                              Concluded
                                                                                            San Diego, CA 92101
                                                                                                                                      Default - Entered 09/26/2018

       Ally Bank v. JTA Farms Ent. LLC et                        Complaint for              San Diego Superior Court -                   Pending
       al.                                                       Breach of                  Central                                      On appeal
       37-2018-00042254-CU-CL-CTL                                Contract                   330 W. Broadway                              Concluded
                                                                                            San Diego, CA 92101
                                                                                                                                      Write of Possession
                                                                                                                                      Hearing - 11/06/2018

       Dougherty v. McDonald                                     Complaint for              San Diego Superior Court -                   Pending
       37-2017-00028318-CU-BC-CTL                                Breach of                  Central                                      On appeal
                                                                 Contract                   330 W. Broadway
                                                                                                                                         Concluded
                                                                                            San Diego, CA 92101


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                         Value of the
                                                                                                                                                              property
                                                                 Explain what happened
       State of CA                                               Levy on Wages (W) for 2017 Taxes                             03/18-10/18                  $10,122.07
       Franchise Tax Board
       P.O. Box 942867                                               Property was repossessed.
       Sacramento, CA 94267-0011                                     Property was foreclosed.
                                                                     Property was garnished.

                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:


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 Debtor 2      Nereida I. Dougherty                                                                        Case number (if known)    18-06051

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Thomas S. Engel, ESQ.                                         Chapter 11 Herein                                        10/05/2018 -              $7,500.00
       Engel & Miller                                                                                                         $7,500.00
       964 Fifth Avenue, Suite 400
       San Diego, CA 92101


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made
       Thomas S. Engel, ESQ.                                         Analysis & Resolution of Debt Scheme                     09/14/2018                $7,500.00
       Engel & Miller                                                - Negotiation w/Existing Lawsuit
       964 Fifth Avenue, Suite 400                                   Creditors
       San Diego, CA 92101                                           (08/31/18 - 09/28/18)


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

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 Debtor 2      Nereida I. Dougherty                                                                        Case number (if known)   18-06051

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       City Bank                                                 XXXX-                        Checking                  06/18                                $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       City Bank                                                 XXXX-                        Checking                  06/18                                $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       SDCCU                                                     XXXX-                        Checking                  05/18                                $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       SDCCU                                                     XXXX-                        Checking                  05/18                                $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       US Bank                                                   XXXX-                        Checking                  06/18                                $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       US Bank                                                   XXXX-                        Checking                  06/18                                $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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 Debtor 1      Christopher D. Dougherty
 Debtor 2      Nereida I. Dougherty                                                                             Case number (if known)   18-06051

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                  have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                          have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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 Debtor 1      Christopher D. Dougherty
 Debtor 2      Nereida I. Dougherty                                                                        Case number (if known)   18-06051

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                       Nature of the case                    Status of the
       Case Number                                                   Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       C&D Professional Services, Inc.                           Financial Consulting                            EIN:         XX-XXXXXXX
       9201 Isaac St. Ste. A
       Santee, CA 92071                                          Barry Fefferman, CPA                            From-To      07/26/2012 - Present
                                                                 (Taxes Only)
                                                                 8085 La Mesa Blvd. #100
                                                                 La Mesa, CA 91942

       RD3, Inc.                                                 Trucking Business                               EIN:         XX-XXXXXXX
       2741 Alpine Blvd #200
       Alpine, CA 91901                                          Barry Fefferman, CPA                            From-To      09/20/2016 - Present
                                                                 (Taxes Only)
                                                                 8085 La Mesa Blvd. #100
                                                                 La Mesa, CA 91942

       JTA Real Estate Holdings, LLC                             Real Estate                                     EIN:         XX-XXXXXXX
       2445 Morena Blvd. Ste. 205
       San Diego, CA 92110                                       Barry Fefferman, CPA                            From-To      10/06/2008 - Present
                                                                 (Taxes Only)
                                                                 8085 La Mesa Blvd. #100
                                                                 La Mesa, CA 91942

       JTA Farm Enterprises, LLC                                 Agriculture Operations                          EIN:         XX-XXXXXXX
       2741 Alpine Blvd. #200
       Alpine, CA 91901                                          Barry Fefferman, CPA                            From-To      10/06/2008 - Present
                                                                 (Taxes Only)
                                                                 8085 La Mesa Blvd. #100
                                                                 La Mesa, CA 91942




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 Debtor 2      Nereida I. Dougherty                                                                        Case number (if known)   18-06051

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Commerical Credit Group, Inc.                            2016 to Present
        2135 City Gate Lane, Ste. 440
        Naperville, IL 60563

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Christopher D. Dougherty                                            /s/ Nereida I. Dougherty
 Christopher D. Dougherty                                                Nereida I. Dougherty
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      October 23, 2018                                              Date     October 23, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 9
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 Fill in this information to identify your case:

 Debtor 1            Christopher D. Dougherty

 Debtor 2           Nereida I. Dougherty
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Southern District of California

 Case number         18-06051                                                                           Check if this is an amended filing
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                            12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


           Not married. Fill out Column A, lines 2-11.

           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
    you have nothing to report for any line, write $0 in the space.
                                                                                                    Column A                Column B
                                                                                                    Debtor 1                Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                        7,000.00       $        9,479.18
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                         $             0.00      $                0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                         0.00      $                0.00
  5. Net income from operating a
     business, profession, or farm        Debtor 1            Debtor 2
     Gross receipts (before all deductions)                $          4,300.00
       Ordinary and necessary operating expenses                     -$               0.00
       Net monthly income from a business,                                                   Copy
       profession, or farm                                           $            4,300.00 here -> $         4,300.00       $                0.00
  6. Net income from rental and
     other real property                          Debtor 1                Debtor 2
       Gross receipts (before all deductions)                        $            2,000.00
       Ordinary and necessary operating expenses                     -$               0.00
       Net monthly income from rental or other real                                          Copy
       property                                                      $            2,000.00 here -> $         2,000.00       $                0.00




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                               page 1
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 Debtor 1     Christopher D. Dougherty
 Debtor 2     Nereida I. Dougherty                                                                   Case number (if known)    18-06051

                                                                                                 Column A                      Column B
                                                                                                 Debtor 1                      Debtor 2

                                                                                                 $                  0.00       $          0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00       $          0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                      $                  0.00       $          0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                  V.A. Disability                                                                $              269.30         $          0.00
                                                                                                 $                  0.00       $          0.00
                  Total amounts from separate pages, if any.                                 +   $                  0.00       $          0.00

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                        $    13,569.30           +   $       9,479.18    =   $    23,048.48




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                               page 2
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 Debtor 1    Christopher D. Dougherty
 Debtor 2    Nereida I. Dougherty                                                                 Case number (if known)   18-06051




 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ Christopher D. Dougherty                                          X /s/ Nereida I. Dougherty
                Christopher D. Dougherty                                               Nereida I. Dougherty
                Signature of Debtor 1                                                  Signature of Debtor 2

        Date October 23, 2018                                                     Date October 23, 2018
             MM / DD / YYYY                                                            MM / DD / YYYY




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                          page 3
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of California
             Christopher D. Dougherty
 In re       Nereida I. Dougherty                                                                             Case No.      18-06051
                                                                                   Debtor(s)                  Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  7,500.00
             Prior to the filing of this statement I have received                                        $                  7,500.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 23, 2018                                                             /s/ Thomas S. Engel, ESQ.
     Date                                                                         Thomas S. Engel, ESQ. CA#105659
                                                                                  Signature of Attorney
                                                                                  Engel & Miller
                                                                                  964 Fifth Avenue, Suite 400
                                                                                  San Diego, CA 92101
                                                                                  (619)544-1415 Fax: (619)544-1468
                                                                                  lawengmill@aol.com
                                                                                  Name of law firm




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CSD 1008 [08/21/00]
 Name, Address, Telephone No. & I.D. No.
 Thomas S. Engel, ESQ. CA#105659
 964 Fifth Avenue, Suite 400
 San Diego, CA 92101
 (619)544-1415
 CA#105659 CA

                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
          325 West "F" Street, San Diego, California 92101-6991


 In Re
 Christopher D. Dougherty
 Nereida I. Dougherty                                                                       BANKRUPTCY NO. 18-06051




                                                                             Debtor.

                                                            VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

      New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS:              38

      Conversion filed on               . See instructions on reverse side.
               Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
               Post-petition creditors added. Scannable matrix required.
               There are no post-petition creditors. No matrix required.

      Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
      Equity Security Holders. See instructions on reverse side.
                         Names and addresses are being ADDED.
                         Names and addresses are being DELETED.
                         Names and addresses are being CORRECTED.

PART II (check one):

      The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

      The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
      the filing of a matrix is not required.
 Date: October 23, 2018                                              /s/ Christopher D. Dougherty
                                                                     Christopher D. Dougherty
                                                                     Signature of Debtor

 Date: October 23, 2018                                              /s/ Nereida I. Dougherty
                                                                     Nereida I. Dougherty
                                                                     Signature of Debtor




                                                          REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                         Alan & Alicia Silver
                         c/o Daniel S. Levinson, ESQ.
                         990 Highland Dr. #206
                         Solana Beach, CA 92075



                         Ally Financial
                         Attn: Bankruptcy Dept.
                         P.O. Box 380901
                         Minneapolis, MN 55438



                         Alternative Recovery Mgt.
                         7373 University Ave., Ste. 201
                         La Mesa, CA 91942



                         American Express
                         P.O. Box 2092
                         Saint Charles, MO 63302



                         Barrett Business Services, Inc
                         c/o Elvin I. Tabah, ESQ.
                         11601 Wilshire Blvd. #800
                         Los Angeles, CA 90025



                         Brennan & Clark
                         721 E. Madison St., Ste. 200
                         Villa Park, IL 60181



                         C&D Professional Services, Inc
                         9201 Issac Street, Suite A
                         Santee, CA 92071



                         Car Capital Financial, Inc.
                         700 West Collins Avenue
                         Orange, CA 92867



                         Carol Pouliot
                         c/o Daniel A. Kaplan, ESQ.
                         555 West Beach St., Ste. 230
                         San Diego, CA 92101
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                     CCG
                     317 S. Brand Blvd.
                     Glendale, CA 91204-1701



                     CCSC
                     725 Canton St.
                     Norwood, MA 02062



                     Chase Card Services
                     Correspondence Dept.
                     P.O. Box 15298
                     Wilmington, DE 19850



                     Commerical Credit Group, Inc.
                     2135 City Gate Lane, Ste. 440
                     Naperville, IL 60563



                     Holly Horn
                     c/o Thomas M. Tomlinson, ESQ.
                     231 Fourth Avenue
                     Chula Vista, CA 91910



                     IC Systems
                     P.O. Box 64378
                     Saint Paul, MN 55164-0378



                     IRS
                     P.O. Box 7346
                     Philadelphia, PA 19101-7346



                     JTA Farm Enterprises LLC
                     2741 Alpine Blvd. #200
                     Alpine, CA 91901



                     JTA Farm Enterprises LLC
                     2741 Alpine Bvld. #200
                     Alpine, CA 91901
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                     JTA Farms Enterprise LLC
                     2741 Alpine Blvd. #200
                     Alpine, CA 91901



                     JTA Real Estate Holdings LLC
                     2445 Morena Blvd. Ste. 205
                     San Diego, CA 92110



                     JTA Real Estate Holdings LLC
                     2445 Morena Blvd., Ste. 205
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                     Quality Loan Services Corp.
                     411 Ivy St.
                     San Diego, CA 92101



                     RD3, Inc.
                     2741 Alpine Blvd. #200
                     Alpine, CA 91901



                     Real Time Resolutions, Inc.
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